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                                  UNITED STATES BANKRUPTCY COURT

                                          PHILADELPHIA DIVISION

In Re:
                 Cristina M. Thurston                          Chapter: 13
                                                               Bky No.: 19-10342-MDC

                                                Debtor(s).

                                    APPLICATION FOR
                       COMPENSATION AND REIMBURSEMENT OF EXPENSES


        Erik B. Jensen, applies under Section 330 of the Bankruptcy Code for an award of compensation and
reimbursement of actual, necessary expenses and represents:

  1.      Applicant is counsel for Debtor(s).

  2.      The debtor(s) filed a petition under chapter 13 on the Bankruptcy Code on 1/18/19.

  3.      The debtor's annualized current income as set forth on form B22C is:

                  above median (the amount on line 15 not less than the amount on line 16)

                  below median (the amount on line 15 is less than the amount on line 16)

  4.      All services rendered and expenses incurred for which compensation or reimbursement is requested,
          were performed or incurred for or on behalf of the debtor. The services described in this application are
          actual, necessary services and the compensation requested for those services is reasonable.

  5.      Applicant requests an award of compensation of $5,000.00 for providing the following services:
                 a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining
                      whether to file a petition in bankruptcy;
                 b. Preparation and filing of any petition, schedules, statements of affairs and plan which may
                      be required;
                 c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
                      adjourned hearings thereof;
                 d. Filing documents and pleadings as may be necessary to comply with the statutory
                      requirements for completion of the case;
                 e. Review documents filed by creditors and other interested parties;
                 f. Resolving objections to confirmation and non-adversary claims objections;
                 g. Meetings and routine correspondence in connection with the above services.

  6.      Applicant requests that compensation be awarded at the following hourly rates:
                a. Erik B. Jensen, Esq. (Attorney) -$325.00 per hour
                b. Akeem Parsons, Esq (Attorney)- $325.00 per hour
                c. Gilberto Arends (Paralegal)- $125.00 per hour

  7.      The Applicant requests reimbursement of expenses in the amount of $0.00 for the following expenses.

  8.      The debtor paid applicant $1,210.00 prior to the filing of the petition.
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  9.       A copy of the applicant's disclosure of compensation pursuant to Fed. R. Bank. P. 2016(b) is attached
  hereto as Exhibit “A.”

  10       A Copy of the Applicant's time Records setting forth the dates and amount of time expended for the
  services performed on behalf of the debtor is:

                  attached as Exhibit "B"

                  not attached.


  11.      None of the Compensation paid to applicant will be shared with any person other than a member or
  regular associate of applicant's law firm unless 11 U.S.C. Sec. 504 (c) applies.

WHEREFORE, Applicant request an award of $5,000.00.


Dated:   April 11, 2019                                       /s/Erik B. Jensen
                                                              Erik B. Jensen
                                                              Jensen Bagnato, P.C.
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                                                              Suite 1920
                                                              Philadelphia, PA 19102

                                                              Telephone: (215) 546-4700
                                                              Attorney(s) for Debtor(s)
